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LAWRENCE G. WASDEN
ATTORNEY GENERAL

STEVEN L. OLSEN, ISB# 3586
Chief of Civil Litigation Division

LESLIE M. HAYES, ISB#7995
Deputy Attorney General
Civil Litigation Division
Office of the Attorney General
954 W. Jefferson Street, 2nd Floor
P. O. Box 83720
Boise, ID 83720-0010
Telephone: (208) 334-2400
Fax: (208) 854-8073
leslie.hayes@ag.idaho.gov

Attorneys for Defendants IDOC and
Warden Keith Yordy

                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

GARY L. MERCHANT,                             )
                                              )   Case No. 1:17-cv-00524-CWD
                      Plaintiff,              )
                                              )   STATE DEFENDANTS’ MOTION
v.                                            )   TO FILE SUR-REPLY IN
                                              )   OPPOSITION TO THE REPLY
Corizon, L.L.C., John Migliori, M.D., David )     MEMORANDUM IN SUPPORT OF
Agler, M.D., Idaho Department of              )   MOTION TO AMEND COMPLAINT
Correction, Warden Keith Yordy, and           )   AGAINST THE STATE
John/Jane Does I-X, whose true identities are )   DEFENDANTS (DKT. 27) AND
presently unknown,                            )   LODGING OF PLAINTIFF’S
                                              )   [PROPOSED] SECOND AMENDED
                      Defendants.             )   COMPLAINT FILED AUGUST 20,
                                              )   2018 [DKT. 33]
                                              )

STATE DEFENDANTS’ MOTION TO FILE SUR-REPLY IN OPPOSITION TO THE REPLY
MEMORANDUM IN SUPPORT OF MOTION TO AMEND COMPLAINT AGAINST THE
STATE DEFENDANTS (DKT. 27) AND LODGING OF PLAINTIFF’S [PROPOSED] SECOND
AMENDED COMPLAINT FILED AUGUST 20, 2018 [DKT. 33] – 1
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       Plaintiff notes he did not follow Local Rule 15.1 when he moved to amend his complaint

and failed to file a proposed amended pleading. (Dkt. 33, p. 1.) Local Rule 7.1(e)(1) states that

“[f]ailure by the moving party to file any documents required to be filed under this rule in a timely

manner may be deemed a waiver by the moving party of the pleading or motion.”

       Plaintiff has gone on to file a proposed second amended complaint with his reply brief

instead of complying with local rule and filing another motion to amend with a proposed amended

complaint, which would have provided the State Defendants a chance to properly object to the

motion. He now claims that the State Defendants’ opposition to the motion is moot, but does not

address the State Defendants’ arguments that without opportunity to review the specific allegations

Plaintiff contemplated in a proposed amended complaint, the State Defendants had no ability to

meaningfully or effectively challenge the propriety of any amended allegations. Warren v.

Corizon Health, No. 1:14-cv-00011-EJL-CWD, 2015 WL 1268269, *2 (D. Idaho Mar. 19, 2015);

Miller v. Rykoff-Sexton, Inc., 845 F.2d 209, 214 (9th Cir. 1988). Because amended allegations that

are futile or legally insufficient are a basis to deny a motion to amend, and because Rule 1 of the

Federal Rules of Civil Procedure states that the such rules should be employed to “secure the just,

speedy, and inexpensive determination of every action and proceeding, the Court should grant the

State Defendants’ Motion to File a Sur-Reply.

       As stated in more detail in the sur-reply brief, which is attached as Exhibit A, Plaintiff’s

motion to file a proposed second amended complaint should be denied for the following reasons:

       1) All claims against the IDOC are barred by the Eleventh Amendment.
       2) All claims against Warden Yordy in his official capacity are barred by the Eleventh
          Amendment.
       3) All claims against Warden Yordy in his personal capacity are still barred, because
          Plaintiff fails to state a claim.

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         The State Defendants respectfully request that the Court grant their motion to file a sur-

reply.

         Dated this 30th day of August, 2018.


                                                      STATE OF IDAHO
                                                      OFFICE OF THE ATTORNEY GENERAL


                                                By:    /s/ Leslie M Hayes
                                                      Leslie M. Hayes
                                                      Deputy Attorney General




STATE DEFENDANTS’ MOTION TO FILE SUR-REPLY IN OPPOSITION TO THE REPLY
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 30th day of August, 2018, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system.

Dylan A. Eaton
PARSONS, BEHLE & LATIMER
kwest@parsonsbehle.com
deaton@parsonsbehle.com


Jason R.N. Monteleone
JOHNSON & MONTELEONE, L.L.P.
jason@treasurevalleylawyers.com

                                                      /s/ Leslie M Hayes
                                               Leslie M. Hayes
                                               Deputy Attorney General




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